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                            UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                     (LUFKIN DIVISION)

In re:                                                  )
                                                        )    JOINTLY ADMINISTERED
TEXAS PELLETS, INC.1                                    )    under Case No. 16-90126
                                                        )
                 Debtors.                               )    Chapter 11
                                                        )

            STIPULATION EXTENDING DEADLINE TO RESPOND TO
      GERMAN PELLETS HOLDING USA, INC.’s MOTION FOR ALLOWANCE AND
                  PAYMENT OF ADMINISTRATIVE CLAIM
               UNDER 11 U.S.C. §503(B)(1)(A), (B)(3)(D), AND (B)(4)
                           [Relates to Docket #1049]

         Texas Pellets, Inc. and German Pellets Texas, LLC (together, the “Debtors”), German

Pellets Holding USA, Inc. (“GP Holding”), and UMB Bank, National Association (the “Bond

Trustee”) hereby together stipulate and agree as follows with respect to German Pellets Holding

USA, Inc.’s Motion for Allowance and Payment of Administrative Claim Under 503(B)(1)(A),

(B)(3)(D), and (b)(4) [Docket #1049] (the “Motion”) filed on February 21, 2019 in the above-

styled Chapter 11 cases (the “Bankruptcy Cases”):

         1.      Notwithstanding anything to the contrary set forth in the Motion, the Debtors and

the Bond Trustee shall have until Thursday, March 28, 2019, to object, answer, or otherwise

respond to the Motion.

         2.      The Debtors, the Bond Trustee, and GP Holding otherwise reserve all their rights,

claims, and arguments with respect to the Motion and its subject matter.




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  The jointly-administered Chapter 11 Debtors, along with the last four digits of each such Debtor’s federal tax
identification number, are Texas Pellets, Inc. (3478) and German Pellets Texas, LLC (9084). The corporate
headquarters and service address for the jointly-administered is: 164 CR 1040, Woodville, TX 75979.


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     Dated: March 14, 2019.
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                                       -and-

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                                       COUNSEL FOR TEXAS PELLETS, INC. AND
                                       GERMAN PELLETS TEXAS, LLC

                                       -and-

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                                       -and-



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                                            /s/ Daniel S. Bleck
                                            Daniel S. Bleck (BBO No. 560328)
                                            Charles W. Azano (BBO No. 655775)
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                                            ATTORNEYS FOR
                                            UMB Bank, National Association, as Bond
                                            Trustee with respect to the Sanger Texas
                                            Industrial Development Corporation Industrial
                                            Development Revenue Bonds (Texas Pellets
                                            Project), Series 2012B and 2012C



                               CERTIFICATE OF SERVICE

       I caused a true and correct copy of the foregoing Stipulation to be served on March 14,
2019 upon the parties listed on the attached Limited Service List via ECF Notification, and (for
those parties who do not receive ECF notification) on March 14, 2019 by United States regular
mail, postage prepaid.

                                            /s/ C. Davin Boldissar
                                            C. Davin Boldissar




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